    Case 23-11337-CMG             Doc 185       Filed 12/13/23 Entered 12/13/23 09:53:25                     Desc Final
                                                Decree Page 1 of 1
Form 177 − fnldec

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                          Case No.: 23−11337−CMG
                                          Chapter: 11
                                          Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Paxe Latitude LP
   139 Ocean Avenue
   Lakewood, NJ 08701
Social Security No.:

Employer's Tax I.D. No.:
  86−3291515

                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that is discharged as trustee of the estate of the above named debtor(s) and the bond is canceled;
and the case of the above named debtor(s) is closed.


Dated: December 13, 2023                           Christine M. Gravelle
                                                   Judge, United States Bankruptcy Court
